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1                                         UNITED STATES DISTRICT COURT

2                                             DISTRICT OF NEVADA

3                                                          ***
      BOBBY LEE MONTGOMERY,
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                             Plaintiff,
5                                                             2:20-cv-01061-KJD-VCF
      vs.                                                     ORDER
6     STATE OF NEVADA, et al.,
7                            Defendants.
8            Before the Court is the Petition for Redacted Copy (ECF NO. 4).
9            Plaintiff initiated an action in this court with a complaint on June 12, 2020. (ECF NO. 1).
10   Plaintiff’s date of birth is listed on the exhibit to the complaint. Id. at page 10. The court notified plaintiff
11   that under LR IC 6-1, parties must refrain from including—or must partially redact, where inclusion
12   is necessary—the following personal-data identifiers from all documents filed with the court including
13   exhibits, whether filed electronically or in paper, unless the court orders otherwise:
14
                     (1) Social Security Numbers. If an individual’s Social Security number must
15
                     be included, only the last four digits of that number should be used.
16
                     (2) Names of Minor Children. If the involvement of a minor child must be
17                   mentioned, only the initials of that child should be used.

18                   (3) Dates of Birth. If an individual’s date of birth must be included, only the
                     year should be used.
19
                     (4) Financial Account Numbers. If financial account numbers must be
20                   included, only the last four digits of these numbers should be used.
21
                     (5) Home Addresses. If a home address must be included, only the city and
22
                     state should be listed.
                     (6) Tax Identification Number. If a tax identification number must be used,
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                     only the last four digits of that number should be used.
24                   See LR IC 6-1. Emphasis added. (ECF No. 3).

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1           Plaintiff has now filed a Petition for Redacted Copy (ECF NO. 4).

2           Accordingly,

3           IT IS HEREBY ORDERED that the Petition for Redacted Copy (ECF NO. 4) is GRANTED.

4           IT IS FURTHER ORDERED that on or before November 2, 2020, Plaintiff must refile his

5    complaint redacting (blocking out) his full date of birth on the exhibit to the complaint.

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7           DATED this 16th day of October, 2020.
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8                                                                 CAM FERENBACH
                                                                  UNITED STATES MAGISTRATE JUDGE
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